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                                                      December 22, 2017



BY ECF/EMAIL:

Honorable Valerie E. Caproni
United States District Court
Southern District of New York
40 Foley Square
New York, NY 10007

       Re: United States v. Percoco, et al., S2 16 Cr. 776 (VEC)

Dear Judge Caproni:

        We write on behalf of Peter Galbraith Kelly, Jr. Pursuant to the Court’s Orders (Doc.
Nos. 396, 406), we are providing the Court with Mr. Kelly’s draft exhibit list of exhibits we
currently intend to offer in our case-in-chief.1

        While we have made every effort to be as complete as possible given the December 22
deadline, we are likely to identify additional exhibits as our trial preparation continues. After the
last pretrial conference, the Government has identified over forty trial witnesses, only sixteen of
whom it has characterized as “definite.” The Government has also produced significant
quantities of new 3500 material and exhibits. Our analysis of that material—along with the
voluminous material that the Government previously produced—is on-going. As we identify
additional exhibits in response to the Government’s disclosures and in the course of our
preparation, we will disclose such exhibits to the Court and the Government.




1
       Consistent with the Court’s December 20, 2017 Order (Doc. No. 406), we will be
providing the Court with electronic and hard copies of the exhibits on December 29.
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      We will send the exhibit list to the Court via email.


                                                    Respectfully submitted,


                                              LANKLER SIFFERT & WOHL LLP

                                              By:       /s/ Daniel M. Gitner

                                              Daniel M. Gitner
                                              Jun Xiang


CC:

All Counsel (Via ECF)
